Case 1:23-mc-23754-RAR Document 1 Entered on FLSD Docket 10/02/2023 Page 1 of 3




                      IN THE UNITED STATEjDISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF FLORIDA

 COM M ODITY FUTURES TRADING
 CO> ISSION,

                      Plaintiff,
                                                                  M ISC.A C TIO N N O .


 DAM IEN.M ORAN;CROW N BULLION,INC.(a
 Texascop oration);BRIGHT FUTUM FINANCIAL,                       FILED BY               D,C .
 LLC (aFloridalimitedliabilitycompanyd/b/a
 (tonkhlzrstM etals'');andBRIGHT FUTURE                                sEF 29 2023
 FFNANCIAL,LLC (aCalifornialimitedliability                             ANGELAE.NIBLE
 companyd/b/aGtonkhlzrstM etals'')7                                    CLEBK U S DISK CTL
                                                                       s.o-oFfl
                                                                              .k.-MIAMI
                      D efendants,



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        Pursuantto the provisions of28 U.S.C.j 754,Kelly Crawford providesnotice ofhis
 appointment as Temporary Receiver for Damien M oran; Crown Bullion, Inc. (a Texas
 corporation);BrightFutureFinancial,LLC (aFloridalimited liability company d/b/aGtonkhtlrst
 M etals''),
           'and B.right Future Financial, LLC (a California limited liability company d/b/a
 ttonkhlzrstM etals'') (collectively,llDefendants''),and the affiliates or subsidiaries owned or
 controlledby Defendants.Tnzeand cozrectcopiesoftheComplaintforlnjunctiveRelief Civil
 Monetaly Penalties, and Other Equitable Relief (the GEcomplaint'') filed by the Plaintiff,
 Com m odity Futuzes Trading Com m ission, the M em orandum Op inion and Order granting

 Plaintifrs M otion for An Ex Parte Statutozy Restraining Order, Appointm ent of a Tem porary

 Receiver,andOtherEquitableRelief(theGEorderAppointingReceiver'),andtheOrdergranting
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'     Plaintiff sM otion to UnsealCourtFileare attached hereto asExhibitA ,ExhibitB.and Exhibit
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                                                     l
      E respectively.                                '
             Septem ber26,2023


                 .                                  R espectfully subm itled,                     '
                                                                                .




                 C                                   /s/KellvM Crawford
                            '                       Kelly M .Crawford
                 '                                  TexasState BarN o. 05030700
                                                    Kelly.cra< ord@ solidcou sel.com
                                                     Scheef& Stone,L.L .P
                                                     500 N .A lcard Street,Suite 2700
                                                     D allas,Texas75201
                                                     (214)706-4200- Telephone
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